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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   BEAUMONT DIVISION

     PETER HARRIS AND                       §
     LONI HARRIS,                           §
                                            §
            Plaintiffs,                     §
                                            §
     VS.                                    §   CIVIL ACTION NO. 1:24-CV-00313
                                            §    JUDGE MICHAEL J. TRUNCALE
     UPWINTRADE.COM, et al,                 §
                                            §
            Defendants.                     §
                                            §

     ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY
                    RESTRAINING ORDER

           Before the Court is Plaintiffs’ Motion for Preliminary Restraining

    Order (the “Motion”). [Dkt. 10]. On August 8, 2024, the Court granted

    Plaintiffs’ request for a 14-day TRO freezing accounts at four cryptocurrency

    exchanges to which Plaintiffs allege they have traced their stolen assets. [Dkt.

    7.] The Court subsequently extended that TRO for another 14 days. [Dkt. 9].

    Plaintiffs now seek to extend this asset freeze through trial.

           The Court has reviewed Plaintiffs’ Motion and evidentiary materials.

    For the reasons set out below, Plaintiffs’ Motion is hereby GRANTED.

           I.      Background

           Plaintiffs’ relevant allegations are as follows. In February 2024,

    Plaintiff Loni Harris saw a Facebook post that appeared to be authored by a

    friend of hers from high school. ECF 10-1, Declaration of Loni Harris

    (hereafter “L. Harris Decl.”), at ¶ 3. This post alluded to the friend’s recent




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    investment successes, which had purportedly been achieved under the

    guidance of a person named “David.” Id. Interested, Ms. Harris sent a

    message to the account that appeared to be operated by her old friend. Id. at

    ¶ 4. This person recommended that Ms. Harris contact David Shamlian, who

    had purportedly been instrumental in the friend’s financial success. Id.

          Ms. Harris alleges that she later confirmed with her “real” high-school

    friend that unknown persons had taken over his account before the

    cryptocurrency-trading success post was ever made. Id. at ¶ 5. But, initially

    unaware of this fact Ms. Harris and her husband Peter Harris reached out to

    Shamlian on Skype. ECF 10-2, Declaration of Peter Harris (hereafter, “P.

    Harris Decl.”), at ¶ 5. Shamlian offered the Harrises his guidance in

    cryptocurrency-related investment and trading. Id. Shamlian told the

    Harrises that in order to take advantage of his proprietary trading strategies,

    they would need to make an account on a cryptocurrency-trading platform

    called Upwintrade. Id. The Harrises soon did so. Id.

          Over the next several months, Shamlian ‘trained’ the Harrises in the

    process of using the Upwintrade platform. Id. First, he instructed them to

    make their own accounts at well-established cryptocurrency exchanges,

    which they did. Id. They then deposited their own U.S. Dollars into those

    accounts, which they used to buy Bitcoin. Id. Then, following Shamlian’s

    instructions, they would transfer their Bitcoin to “deposit addresses” provided

    to them on the Upwintrade platform. Id. They repeated this process in a




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    series of transactions from February to May 2024, ultimately transferring

    Bitcoin with transfer-date value of more than $650,000.00 to the addresses

    provided to them by Upwintrade. Id.

          Each time the Harrises made a ‘deposit’ to their Upwintrade account,

    the account balance presented in their user portal increased as expected. Id.

    at ¶¶ 7 – 8. In fact, just as Shamlian had promised, their balance began to

    grow rapidly as they appeared to profit from his strategies and Upwintrade’s

    supposedly advanced technology. Id. Then, in May 2024, the Harrises decided

    to withdraw some of their assets from Upwintrade. Id. at ¶ 10. But they were

    told they could not make a withdrawal until they paid more than a million

    dollars in “commissions” and “taxes” to release their assets. Id. at ¶¶ 10 – 11.

    The Harrises began to suspect that they had been the victims of a scam and

    retained counsel. Id.

          The Harrises now allege that Upwintrade’s explanations as to why

    they could not withdraw their funds were lies. ECF 1, Verified Complaint, at

    ¶ 18. They say the real reason Upwintrade would not return their assets is

    that Upwintrade is not a real trading platform at all. Id. Instead, they allege

    that they have been the victims of what is known as a “pig-butchering scam.”

    Id. at ¶ 4. According to the Harrises, this is a type of investment scam in

    which the perpetrators deceive victims into depositing their assets on a fake-

    but-realistic-looking “trading” or “investment” platform, where no trading or




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    investment ever occurs. Id. Instead, the Harrises allege, the assets are simply

    stolen. Id.

           After retaining counsel, the Harrises engaged an investigator to

    perform a “blockchain tracing” report. This “tracing” refers to the process of

    following digital assets from location to location on the blockchain via publicly

    available data. ECF 10-4, Declaration of Evan Cole (hereafter “Cole Decl.”),

    ¶¶ 24 – 29. The Harrises’ investigator was able to trace their stolen assets to

    addresses associated with four distinct cryptocurrency exchanges: (1)

    Binance, (2) Revolut, (3) Remitano, and (4) ByBit. Id.

           Immediately after filing this action, the Harrises sought an emergency

    ex parte temporary restraining order (“TRO”) requiring that these exchanges

    temporarily freeze the accounts associated with the blockchain addresses

    they identified as receiving the assets stolen from them, so that they might

    preserve some assets for recovery. The Court issued a TRO to that effect, and

    subsequently extended that TRO by 14 days.

           The Harrises now seek a preliminary injunction that would extend this

    asset freezing order through trial. They have submitted five declarations in

    support of their Motion. Their own declarations set out the allegations

    recounted above. In addition, the Harrises submit a declaration under the

    signature of Delaina Snyder, another alleged victim of the Upwintrade scam.

    Ms. Snyder avers that she, her husband, and a friend of theirs lost more than

    $200,000.00 to the Defendants. ECF 10-3, Declaration of Delaina Snyder




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    (hereafter, “Snyder Decl.”), ¶¶ 6, 8. Ms. Snyder’s declaration recounts

    experiences that are remarkably similar to the Harrises’. Id. at ¶¶ 3 – 11.

    Together, these three declarations attach hundreds of pages of evidence

    showing each stage of the scam from the alleged victims’ perspectives—from

    the initial contact through hacked Facebook accounts, to trust-building

    conversations on Skype, to fake trades and false profits on the Upwintrade

    platform, to the scammers’ demands that they pay millions in “commissions”

    and “taxes” to “release” their funds.

          The Harrises’ Motion also attaches the Cole Declaration. Mr. Cole is

    the founder of Digital Investigations, LLC, a blockchain-investigations firm.

    Cole Decl., ¶¶ 2 – 3. His declaration submits a preprint of a forthcoming

    academic article that he describes as the most comprehensive study of pig-

    butchering scams to date.1 This study compiled and analyzed information

    about more than 1,300 pig-butchering scams, with the aim of creating a

    framework for identifying such scams and setting them apart from other

    forms of cybercrime (and, presumably, from legitimate investment

    operations). Id. Mr. Cole’s declaration provides a detailed comparison of the

    evidence submitted by the Harrises and Ms. Snyder with the typology set out

    in Examining Pig Butchering. Id. at ¶¶ 8 – 17.




          1 Id. at ¶¶ 5 – 6 (citing Marie-Helen Maras, Emily R. Ives,
    Deconstructing a Form of Hybrid Investment Fraud: Examining ‘Pig
    Butchering’ in the United States, JOURNAL OF ECONOMIC CRIMINOLOGY,
    Volume 5 (forthcoming Sep. 2024) (hereafter, “Examining Pig Butchering”)).


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          The Cole Declaration also discusses the scope of the pig-butchering

    epidemic, the devastation this kind of fraud has wrought on victims, and the

    organizational and money-laundering practices of the pig-butchering

    scammers. Id. at ¶¶ 18 – 23. Finally, it attaches updated blockchain-tracing

    evidence purporting to show that the Defendants transferred the Harrises’

    and the Snyders’ assets through many of the same intermediary addresses

    and ultimately to the same accounts at the cryptocurrency exchanges Bybit,

    Binance, Revolut, and Remitano. Id. at ¶¶ 24 – 30.

          II.    Analysis

          The Harrises have met the requirements for issuance of a Preliminary

    Injunction for the following reasons.

          First, the Harrises have shown that the Defendants had notice of their

    Motion and this hearing as required under Federal Rule of Civil Procedure

    65(a)(1). Their counsel has submitted a declaration recounting the methods

    used to provide notice and attaching evidence of the same. ECF 10-5,

    Declaration of Marshal Hoda (hereafter, “Hoda Decl.”), ¶¶ 3 – 4.

          Next, the Harrises have met the substantive requisites for issuance of

    a preliminary injunction. To obtain a preliminary injunction, the movant

    must show (1) a substantial likelihood of success on the merits, (2) a

    substantial threat of irreparable harm if the injunction does not issue, (3) that

    the threatened injury outweighs any harm that will result if the injunction is

    granted, and (4) that the grant of an injunction is in the public interest. Moore




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    v. Brown, 868 F.3d 398, 402-03 (5th Cir. 2017). Each of these requisites is

    addressed in turn below.

          The Harrises make claims against the Defendants for violation of the

    Racketeering Influenced and Corrupt Organizations Act (“RICO”), fraud, and

    conversion. Complaint, ¶¶ 21 – 32. They have alleged and provided evidence

    that the Defendants deceived them and misappropriated their assets in what

    appears to have been an intentional pig-butchering scam.2 The Court finds

    that the similarities between Plaintiffs’ allegations and the widely known

    characteristics of this distinctive kind of scam suggest that they will indeed

    be able to prevail on these claims against the Defendants once a full

    evidentiary record is developed. The Snyder Declaration and the comparison

    of the Harrises’ evidence to the Examining Pig Butchering typology have only

    strengthened the evidentiary basis for this conclusion since the Court entered

    the TRO.

          In addition, as in the previous order granting the extant TRO, the

    Court notes that asset freeze the Harrises seek in this instance is permissible

    in light of their request for a constructive trust over specific, traceable stolen

    assets, as several courts have held in analogous cryptocurrency-fraud cases.

    See, e.g., Yogaratnam v. Dubois, No. CV 24-393, 2024 WL 758387, at *3 (E.D.

    La. Feb. 23, 2024) (issuing asset-freeze TRO in crypto-fraud case, noting


          2 Complaint, ¶¶ 1 – 4, 14 – 19; L. Harris Decl., passim; P. Harris Decl.,

    passim; Snyder Decl., passim; Cole Decl., ¶¶ 5 – 17 (comparing evidence
    submitted with leading academic study of pig-butchering scams).


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    that “numerous district courts … have issued a TRO in this exact

    circumstance to freeze a cryptocurrency asset,” and collecting cases); Jacobo,

    2022 WL 2052637, at *3 (issuing asset-freezing TRO where plaintiff sought

    constructive trust over allegedly stolen assets); Gaponyuk, 2023 WL 4670043,

    at *2 (same). The Harrises’ claim that their assets can be traced to the

    Receiving Exchanges is again supported by the blockchain analysis submitted

    in support of their Motion. Cole Decl., ¶¶ 24 – 30.

          The Harrises have also shown that irreparable harm will ensue absent

    the restraining order they seek. The Cole Declaration details how the assets

    allegedly stolen from the Harrises could be further transferred to

    unretrievable locations at any time, with the click of a button. Cole

    Declaration, ¶ 30 (explaining that “crypto assets can be moved in seconds

    from address to address,” and that the Harrises will be unlikely to recover if

    they are further dissipated). Several federal courts have found that this

    exigency justified issuance of freezing orders in similar crypto-fraud cases,

    and this Court finds their reasoning persuasive here.3



          3 See, e.g., Ohlin v. Defendant 1, No. 3:23-C-8856-TKW-HTC, 2023 WL

    3676797, at *3 (N.D. Fla. May 26, 2023) (“Considering the speed with which
    cryptocurrency transactions are made as well as the anonymous nature of
    those transactions, it is imperative to freeze the Destination Addresses to
    maintain the status quo to avoid dissipation of the money illegally taken from
    Plaintiffs.”); Jacobo v. Doe, No. 1:22-CV-00672DADBAKBAM, 2022 WL
    2052637, at *3 (E.D. Cal. June 7, 2022) (“Because it would be a simple matter
    for [defendant] to transfer [the] cryptocurrency to unidentified recipients
    outside the traditional banking system and effectively place the assets at
    issue in this matter beyond the reach of the court, the court finds that plaintiff
    is likely to suffer immediate and irreparable harm in the absence of injunctive


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           Next, the Court finds that the threatened injury to the Harrises

    outweighs any harm the Defendants may suffer by virtue of a freeze of their

    accounts. The Defendants will suffer at worst a temporary inability to move

    assets if the injunction is later dissolved. See, e.g., Licht v. Ling, No. 3:23-CV-

    1018, 2023 WL 4504585, at *3 (N.D. Tex. June 20, 2023) (balancing factor

    weighed in plaintiff’s favor because alleged crypto-thieves faced only

    “inconvenience” of asset-freeze, which could be undone); Jacobo, 2022 WL

    2052637, at *6 (same, finding “[a] delay in defendant’s ability to transfer the

    [allegedly stolen] assets only minimally prejudices defendant, whereas

    withholding injunctive relief would severely prejudice plaintiff by providing

    defendant time to transfer the allegedly purloined assets into other accounts

    beyond the reach of this court”). In contrast, maintaining the assets at the

    destination accounts is perhaps the Harrises’ only realistic chance at a future

    recovery in this case.

           Finally, the Court finds that issuing the injunction is in the public

    interest. In fact, in this case, the public interest weighs particularly heavily

    in favor of the requested injunction. The Harrises’ evidence shows that the

    devastation wrought by the pig-butchering epidemic is breathtaking. Cole

    Decl., ¶¶ 21 – 23. The FBI estimates that in 2023 alone, pig-butchering

    scammers stole nearly $4 billion from tens of thousands of American victims.




    relief.”) (cleaned up); Astrove v. Doe, No. 1:22-CV-80614-RAR, 2022 WL
    2805315, at *3 (S.D. Fla. Apr. 22, 2022) (same).


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    Id. CNN has noted that this is “theft at a scale so large that investigators are

    now calling it a mass transfer of wealth from middle-class Americans to

    criminal gangs.” Id. Experienced prosecutors have reported that they “have

    never seen the absolute decimation of people that [they have] seen as a result

    of pig butchering.” Id. The public interest overwhelmingly favors preserving

    victims’ only potential source of recovery through the issuance of preliminary

    injunctive relief. As other courts have noted, issuing the relief requested will

    “provide[] assurance to the public that courts will take action to promote …

    recovery of stolen assets when they can be readily located and traced to

    specific locations.” Jacobo, 2022 WL 2052637, at *6. Foreign criminal gangs

    cannot be allowed to steal the life savings from tens of thousands of

    hardworking Americans with impunity.

          III.   Preliminary Injunction

          Plaintiffs have submitted evidence tracing the assets they allege were

    stolen from them to 29 deposit addresses at the cryptocurrency exchanges

    Binance, Revolut, Remitano, and ByBit (the “Receiving Addresses”). The

    Receiving Addresses are:


     Exchange               Address


     Binance                13mLDAfVfyzD8Vf6x9YZ5pALc3g8TXqPix


     Binance                1MUxDUmHAVskKATJDCWgk8SJ9ZBHreZAbh


     Binance                1DMhMwn4apg49oVjRpbaZqJDDLJaN6iqox



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     Binance             13WWx7qQ1QBoY2E3sjaRrzvWzg2JJkDAgg


     Binance             1PvjGd7aCpvRzZtz4kL9YgdvnYPdpm16oj


     Revolut             bc1q7gku9m33re89mes97dwq4lawwxg3hj6g28umcy


     Remitano            38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf


     Remitano            38Ep5mFzh6oNbuFXSL1Hvk3g1TwXUMX8xv


     Remitano            3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A


     Remitano            3A34Ggh1EUNXe4K8ayTLNLdKYAUDTnEU63


     Remitano            3MoVdQzjhYJrz9umg4v1oBRRz5pe9kZVcu


     Remitano            3A3NqjhLiexUzcfgGuVo19uzux8rnbqSVE


     Remitano            3CaPngqFGiu8kSLEcp9uM5JvK97RdAGHBU


     Remitano            3KE6diBJr2yCcd9HEUxH5KNd86s2tzPW2N


     Remitano            3B9GDHG6WgrWeavz247zAvbd5WrC8rYF7y


     Remitano            3KKGPBqG2GW5PNVmktjoJwsSoGmfrvVTBB


     Remitano            3G1gfTQn81jgaPUCWCoSr8j17AtiWn17uy


     Remitano            3DGPG9Lh6iLSkxYf9UZxzxjcUKo36xUva9


     Remitano            3D8JCs231iJxK8Jx86pJ4TAWrAAtbRxRPW




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     Remitano              33heGnSTbA6U7WrfMBYoWYgCRBek2MrKTA


     Remitano              3AymDrgNq3WQZaNLh4vxLe8bxVzGaHqQhz


     Remitano              31jJbyCxErbbfkuGP1dtz2Pz9jt9SWNv83


     Remitano              35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW


     Remitano              3BjbZnAwmmxvQFnibcyGRd8SAwM6xTLYpA


     Remitano              3CZ6NHrctR8ceWwyYyJQXP96PMAqEs5J4a


     Remitano              3KSpJdiRmej8XkqCYswa58pff127b7nQxc


     Remitano              39TPPnjRGB8ANVbs1K7RFoBBDNtvXWtECj


     ByBit                 1HyTkypyP8yoRGSRrvr74SyEhhX1bkLMiQ


     ByBit                 14rxMsRQV5fkTDb3ShorD91xQvdwp34hjb


          For the reasons set out in the Motion, the Court finds that the accounts

    associated with these deposit addresses should be frozen. Accordingly, The

    Court hereby ORDERS that Defendants and their agents, servants,

    employees, attorneys, partners, successors, assigns, and all other persons or

    entities through which they act or who act in active concert or participation

    with any of them, who receive actual notice of this Order by personal service

    or otherwise, whether acting directly or through any trust, corporation,

    subsidiary, division or other device, or any of them, are hereby restrained

    from withdrawing, transferring, or encumbering any assets currently held by,


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    for, or on behalf of the persons controlling the accounts associated with the

    above-listed Receiving Addresses, or any business entity through which they

    act or which acts in active concert or participation with them; including but

    not limited to those assets currently held at or for the Receiving Addresses.

          The Court ORDERS the Harrises to cause a copy of this Order to be

    served on the above-listed entities in a manner compliant with Rule 4 or as

    the Court may further direct. Upon receiving a copy of this Order, these

    entities shall be restrained and enjoined from disturbing assets, directly or

    indirectly, to or on behalf of Defendants or any entities under Defendants’

    control. Additionally, the Court ORDERS that all movement, alteration, or

    destruction of books, records, and accounts related to the above-listed

    blockchain addresses is prohibited. The Court declines to impose a bond.

          The preliminary injunction set out in this Order shall continue until

    trial or further order of the Court.




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     Dated: September 3, 2024                 Prepared By:

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